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10                             UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA
11
      In re                                              Lead Case No.: BK-19-50102-gs
12
                                                         (Chapter 7)
13    DOUBLE JUMP, INC.
                                                         Substantively consolidated with:
14    Debtor.
                                                          19-50130-gs    DC Solar Solutions, Inc.
15
                                                          19-50131-gs    DC Solar Distribution, Inc.
16                                                        19-50135-gs    DC Solar Freedom, Inc.
17
                                                         Adversary No.: 22-05001-gs
      CHRISTINA W. LOVATO,
18
                  Plaintiff,                             STIPULATION ON TRUSTEE’S
19                                                       MOTION TO STRIKE [ECF NO. 33]
      v.                                                 AND DEFENDANTS’ RESPONSE [ECF
20                                                       NO. 38]
      AHERN RENTALS, INC. and XTREME
21                                                       Hearing Date: August 11, 2022
      MANUFACTURING, LLC,
22                                                       Hearing Time: 9:30 A.M.
                 Defendants.
23
24
              This Stipulation (“Stipulation”) is entered into by and between Solomon B. Genet of
25
     Meland Budwick, P.A. on behalf of Christina W. Lovato, Trustee (“Trustee”) and Mark J. Connot
26
     of Fox Rothschild LLP on behalf of Defendants Ahern Rentals, Inc. and Xtreme Manufacturing,
27
     LLC (together, the “Defendants,” and collectively with the Trustee, the “Parties”) in the above-
28
     captioned adversary proceeding (“Adversary”):


                                                     1
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            1.      On July 1, 2022, the Trustee filed her Motion to Strike Defendants’ (1) Jury Trial
 1
     Demand; (2) Non-Consent to Final Orders and Judgments; (3) Request for Fees and Costs; (4)
 2
     Certain Affirmative Defenses; and (5) Certain Inadequate Responses [ECF No. 33] (“Motion to
 3
     Strike”).
 4
            2.      On July 28, 2022, the Defendants filed their Response to Trustee’s Motion to Strike
 5
     [ECF No. 38] (“Response”).
 6
            3.      The Parties have engaged in good faith discussions and have agreed to resolve the
 7
     issues raised in the Motion to Strike and the Response.
 8
            THEREFORE, it is AGREED and STIPULATED that:
 9
10          4.      The Defendants withdraw their demand for a jury trial.

11          5.      The Defendants consent to this Court’s entry of final orders and judgments.

12          6.      The Defendants’ request for their full attorneys’ fees and costs is limited to their

13   rights as provided for in each of the Defendants’ contracts with the Debtors.

14          7.      The Trustee withdraws her request to strike certain of the Defendants’ affirmative

15   defenses pursuant to F.R.C.P. 12(f), without prejudice.

16          8.      The Trustee withdraws her request to strike certain of the Defendants’ responses to

17   the Trustee’s complaint pursuant to F.R.C.P. 12(f), without prejudice.

18          9.      The Parties agree that the hearing in the Adversary on the Motion to Strike

19   scheduled for August 11, 2022 should be cancelled because the matters raised in the Motion to

20   Strike and the Response have been consensually resolved.

21
22    DATED: August 4, 2022.                             DATED: August 4, 2022.

23    MELAND BUDWICK, P.A.                               FOX ROTHSCHILD LLP
24
      /s/ Solomon B. Genet___________________            /s/ Mark J. Connot____________________
25    Solomon B. Genet, Esq.                             Mark J. Connot, Esq.
      Attorneys for Plaintiff Christina W. Lovato        Attorney for Defendants Ahern Rentals, Inc.
26                                                       and Xtreme Manufacturing, LLC
27
28



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                                 CERTIFICATE OF SERVICE
 1
         I certify that on August 4, 2022, I caused to be served the following document(s):
 2
           STIPULATION ON TRUSTEE’S MOTION TO STRIKE [ECF NO. 330]
 3                 AND DEFENDANTS’ RESPONSE [ECF NO. 38]
 4       I caused to be served the above-named document(s) as indicated below:
 5       ✔ a. Via ECF to:
 6              ALEXANDER E. BRODY abrody@melandbudwick.com
 7              ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
                mrbnefs@yahoo.com
 8              MICHAEL S. BUDWICK mbudwick@melandbudwick.com
                ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
 9              MARK J. CONNOT mconnot@foxrothschild.com
10              dloffredo@foxrothschild.com
                JEFFREY L HARTMAN notices@bankruptcyreno.com
11              abg@bankruptcyreno.com
                CHRISTINA W. LOVATO trusteelovato@att.net NV26@ecfcbis.com
12
13       DATED: August 4, 2022.

14                                     /s/ Solomon B. Genet_____
                                       Solomon B. Genet, Esq.
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